     Case 6:07-cr-10221-JTM   Document 850       Filed 02/22/12   Page 1 of 15




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                    )
                                             )
                           Plaintiff,        )       CRIMINAL ACTION
                                             )
v.                                           )       No.    07-10221-MLB
                                             )
MICHAEL L. BIGLOW, et al.,                   )
                                             )
                           Defendants.       )
                                             )

                              MEMORANDUM AND ORDER
I.          INTRODUCTION
            This case comes before the court on numerous motions filed by
defendants pertaining to the James hearings held on January 10, 2012.
(Docs. 775, 810, 843, 844, 846).1            Four defendants have been charged
in a Fifth Superceding Indictment filed on September 14, 2011. (Doc.
776).        The indictment contains a total of 35 counts and forfeiture
allegations.       In counts 1 and 2, the indictment alleges a conspiracy
to distribute cocaine.         Count 1 charges Michael Biglow and count 2
charges James Black, which occurred from an unknown date until
September 27, 2007, and allege a conspiracy with known and unknown
coconspirators.        Defendants have also been charged with using a
telephone to distribute cocaine, distribution of cocaine and gun
charges.
            The government intends to introduce statements which were
obtained from wiretaps on cellular phones belonging to Tyrone Andrews,
a previous co-defendant who has pled guilty.                  Defendants have moved


        1
       Throughout this order, the court may refer to defendants in
plural even though some matters may not concern all defendants.
  Case 6:07-cr-10221-JTM   Document 850      Filed 02/22/12   Page 2 of 15




and/or joined in motions to exclude coconspirator statements.                The
government has responded. (Doc. 849).           The motions are fully briefed
and ripe for decision.         The motions are granted in part and denied
in part for the reasons herein.
II.       PROCEDURAL HISTORY
          This case was originally filed on November 20, 2007, against
nine defendants.       On June 6, 2008, this court granted defendant
Michael Biglow’s motion to suppress.          (Doc. 155).      The trial was set
to begin on June 11, 2008.        On June 9, the government appealed this
court’s order granting Biglow’s motion.          The government then moved to
continue the trial against all defendants or, in the alternative,
dismiss the indictment against all defendants.                  The government’s
position was that Biglow’s involvement was an integral part of the
conspiracy.     The court granted the government’s motion to dismiss the
indictment.2
          On May 12, 2009, this court received the Tenth Circuit’s mandate
reversing its decision.        (Doc. 212).   On May 13, the government filed
a second superseding indictment against the original nine defendants
and an additional eleven defendants.          (Doc. 214).      Count 1 charged a
conspiracy against all defendants. On September 24 and October 21 the
court conducted a James hearing to determine the admissibility of
phone conversations that were recorded pursuant to a Title III
wiretap.      After the hearing, several defendants moved for dismissal
of count 1, the conspiracy count, on the basis that the government had
not established a conspiracy.        (Docs. 503, 508, 511, 514, 515, 520,


      2
          None of the defendants objected to the government’s motion.

                                      -2-
  Case 6:07-cr-10221-JTM     Document 850    Filed 02/22/12   Page 3 of 15




529, 535).
         On October    29, the court entered an order prohibiting the
telephone calls from being introduced as coconspirator statements.
(Doc. 565). The court found that the government had not satisfied its
burden to establish that a conspiracy existed between all defendants.
The court also ruled that some of the calls, however, could be
admitted for other purposes during trial.              The government moved to
dismiss the indictment and the court granted the government’s motion.3
(Doc. 592).
         On November 10, 2009, the government filed a third superceding
indictment against Tyrone Andrews and Jose Pizana charging them with
conspiracy, using a telephone to distribute cocaine and distribution
of cocaine.     (Doc. 595).       Both defendants pled guilty.          On May 25,
2011, the government filed a fourth superceding indictment against
James Black, Gregory Reynolds and Clerance Reed.                 (Doc. 745).    On
September     14,   2011,   the   government   filed    the   fifth    superceding
indictment and added defendant Michael Biglow.
         Defendants continue to object to the admission of the statements
of their prior co-defendants on the basis that the statements are
hearsay.    The government asserts that defendants and their prior co-
defendants are coconspirators and therefore the statements can be
admitted as an exception to the hearsay rule.
III. FACTS4

     3
       At the time of the motion to dismiss, five defendants had
entered pleas of guilty.
     4
       The summary in this section includes facts which were obtained
from the court’s first James hearing in this case, which was held on
September 24, 2009. The transcript of the hearing was offered by the

                                       -3-
  Case 6:07-cr-10221-JTM   Document 850    Filed 02/22/12    Page 4 of 15




      Wichita Police Department (“WPD”) Detective Clint Snyder first
heard the name “Roni” from James Jones, a Crip who was arrested in
another matter in September 2006.         Jones said that Roni was a major
drug supplier to gangs in the Wichita area.          In October 2006, Roni’s
name came up again.        Wichita police interviewed more people who
confirmed that Roni was a major supplier of cocaine but Detective
Snyder still did not know who Roni was.           Some time later, a search
warrant was executed at 1928 South Spruce Wichita, Kansas (the “Spruce
residence”) and drug paraphernalia was seized.                Prentice Byrd was
living in the Spruce residence at that time, but Tyrone Andrews owned
it.
      In May 2007, Byrd told WPD that he was receiving drugs from
Andrews who also went by the name Roni.        Byrd said Andrews taught him
how to cook crack and was a multi-kilo dealer of cocaine.                   Andrews
told Byrd that he sold 18 kilos in two days in early 2007, at a cost
of between $16,000 to $18,000 per kilo.          Detective Snyder testified
that this price is consistent with prices in Wichita at that time.
Byrd said that Andrews sold to numerous people, including Clarence
Reed who got a kilo a week.      Byrd said he also sold a kilo a week.
      Byrd confirmed that Andrews owned a “stash house” near Mt. Vernon
and Oliver.   Detective Snyder did a property search and learned that
1821 South Ridgewood (the “stash house”) was owned by Andrews.
Surveillance began towards the end of May 2007.             Andrews would arrive
around 3:00 p.m., would stay there for awhile and then leave to meet
other people at other locations.          A Hispanic male driving a white


government during the James hearing held on January 10, 2012.                 (Exh.
1).

                                    -4-
  Case 6:07-cr-10221-JTM    Document 850    Filed 02/22/12   Page 5 of 15




pickup would come carrying a brown bag and then leave the house after
a couple of minutes.       On June 4, 2007, Detective Snyder and other WPD
officers did a trash pull.       They found an empty sandwich box and it
gave a positive indication of cocaine.            Detective Snyder testified
that this is a common method of packaging cocaine.             Detective Snyder
also learned that Jesus Valencia-Abarca was the driver of the white
truck.    On June 20, Detective Snyder saw the same white truck arrive.
        On June 23, Byrd agreed to cooperate.       He was to make a purchase
of two ounces of cocaine.       Byrd asked for a “two-piece” which was a
code for two ounces.       He was supposed to pay $1,125 but he only paid
$1,000 and said he was a little short.          This transaction occurred at
the Spruce stash house.
        On June 25, Detective Snyder observed a Nissan and the tag came
back to a Jesus Lopez, who he later learned was an alias for Jose
Pizana.      Andrews left the stash house and went to an apartment
complex.     He got out of his vehicle with a bag and walked up to a
building.     After a few minutes, he left the building and walked out
with Kevin Gunter.     The bag was now blowing in the wind as if it was
empty    and Gunter was carrying a sack.        They followed Gunter who met
with Isaac Woods and Gunter passed a plastic bag to Woods.              Woods was
later stopped and a canine alerted and the vehicle was searched.             Two
kilos were recovered and they were in a plastic bag.                 Woods plead
guilty.    The Tenth Circuit affirmed this court’s denial of his motion
to suppress in its Order and Judgment filed October 13, 2009 in Case
No. 08-3245.
        On June 24, Byrd made another undercover purchase, this time
requesting a “four-piece.”        Andrews and Byrd met in 3800 block of

                                      -5-
  Case 6:07-cr-10221-JTM    Document 850   Filed 02/22/12   Page 6 of 15




South Seneca.       Byrd bought powder cocaine which Andrews sold for
$2,325.    Byrd gave him $2,340 to make up for the earlier short on the
“two-piece.”
     On July 8, there was another trash pull.                WPD officers and
Detective Snyder found two empty boxes of baking soda and four empty
boxes of baggies.    Detective Snyder testified that this is indicative
of someone who is dealing cocaine. WPD continued surveillance and saw
a silver Nissan arrive at the stash house driven by Michael Biglow who
was carrying a black attache case. Biglow left and WPD was instructed
to follow him.   There was a traffic stop and Biglow was cited him for
a traffic violation.       Afterwards, Byrd told WPD that Andrews thought
the police were watching his house because an officer stopped an
individual who had two kilos of cocaine in his car.
     In September 2007, Detective Snyder and other WPD officers set
up wiretaps over the course of 17 days on the two phones owned by
Andrews.    In each call, a co-defendant would call Andrews, or vice-
versa.    In some of the calls, one co-defendant would ask Andrews for
a specific amount of cocaine.5       In other calls, a co-defendant would
tell Andrews that he has a specific number of points or dollars.6
Most of the conversations are in a form of code and are loaded with
profanity and racial slurs.       See, James hearing exhibit 1.

     5
      In several calls, one co-defendant asks Andrews for a “two-
piece,” “four-piece,” or specific number. Detective Snyder testified
that based upon his experience, the co-defendants were asking for a
specific amount of cocaine. A ‘two-piece” is two ounces of cocaine
and “two” is two kilos of cocaine.
     6
      For example, in Call #196, Biglow asks “how many, how many
points is that?” Andrews responds “one nine.” This call reflects the
agreement for Biglow to order 2 kilograms of cocaine at $19,000 per
kilogram. (Doc. 547 at 11).

                                     -6-
  Case 6:07-cr-10221-JTM        Document 850       Filed 02/22/12    Page 7 of 15




       In addition to the calls, the government also introduced a
statement obtained by Andrews during the investigation. The statement
details Andrews’ activities of purchasing approximately five kilos of
cocaine a week from defendants Valencia-Abarca and Pizana.                            James
Hearing exh. 5. In that statement, Andrews does not specifically name
any of the current defendants.           The government also offered Andrews’
plea       agreement,   the    change   of    plea    hearing       transcript      and   the
sentencing       transcript.        Andrews’       plea    agreement      discusses       his
involvement in the charges.             Andrews stated that the phone calls
contained in the indictment7 discuss drug transactions and that
defendants purchased cocaine from him on those occasions.
       The government introduced the phone calls during the hearing and
stated its intention of offering all statements during the trial which
is presently set for April 3.
IV.    ANALYSIS
                              Fed. R. Evid. 801(d)(2)(E)
       Out-of-court statements made by coconspirators are non-hearsay
and admissible evidence under Fed. R. Evid. 801(d)(2)(E).8                           United
States v. Owens, 70 F.3d 1118, 1123 (10th Cir. 1995).                               “Before
admitting evidence under this rule, ‘The court must determine that (1)




       7
      The same phone calls which were charged in Andrews’ indictment
are also calls charged in the fifth superseding indictment.
       8
      Fed. R. Evid. 801(d)(2)(E) provides: “A statement is not hearsay
if ... [t]he statement is offered against a party and is ... a
statement by a coconspirator of a party during the course and in
furtherance of the conspiracy.”

                                             -7-
  Case 6:07-cr-10221-JTM   Document 850   Filed 02/22/12   Page 8 of 15




by a preponderance of the evidence,9 a conspiracy existed, (2) the
declarant and the defendant were both members of the conspiracy, and
(3) the statements were made in the course of and in furtherance of
the conspiracy.10’” Id.     In determining whether Rule 801(d)(2)(E) is
met, the court may rely on the coconspirator statements themselves,
but the government must produce some “independent evidence” that a
conspiracy exists.    Here, the government has satisfied its burden by
producing evidence of the surveillance, Andrews’ plea agreement and
statement.
                                 Conspiracy
     First, the court must determine whether a conspiracy exists.
          To prove conspiracy, the government must show: (1)
     that two or more people agreed to violate the law, (2) that
     the defendant knew at least the essential objectives of the
     conspiracy,   (3)   that  the   defendant   knowingly   and
     voluntarily became a part of it, and (4) that the alleged
     co-conspirators were interdependent. (Citations omitted).
     “[A] single conspiracy does not exist solely because many
     individuals deal with a common central player.” (Citations
     omitted). “What is required is a shared, single criminal
     objective, not just similar or parallel objectives between
     similarly situated people.” (Citations omitted). On the
     other hand, “[a] defendant need not have knowledge of all
     the details or all the members of the conspiracy and may
     play only a minor role in the conspiracy.”       (Citations

     9
      In the present situation, preponderance of evidence is evidence
sufficient to persuade the court that a fact is more likely present
than not present. Tenth Circuit Pattern Criminal Federal Jury
Instruction 1.05.1.
     10
        There are more than 100 statements offered by the government
in this case. At this time, the court will not discuss each statement
in isolation to determine if it was made in furtherance of a
conspiracy. However, the court finds that Andrews’ plea agreement and
the recorded calls do support a finding that the calls were in
furtherance of the conspiracy. Andrews stated in his plea agreement
that the calls were made for the purpose of completing a drug
transaction. Defendants may object to a specific statement during
trial if they do not believe it was made in furtherance of a
conspiracy.

                                    -8-
  Case 6:07-cr-10221-JTM    Document 850     Filed 02/22/12   Page 9 of 15




        omitted).   The government need only prove by direct or
        circumstantial evidence “that the defendant knew at least
        the essential objectives of the conspiracy, and the
        defendant knowingly and voluntarily became part of it.”
        (Citations omitted).
United States v. Small, 423 F.3d 1164, 1182-83 (10th Cir. 2005).
Proof of interdependence depends heavily on the specific facts of each
case.     United States v. Caldwell, 589 F.3d 1323, 1329 (10th Cir.
2009).
        In this case, the government has not charged a single conspiracy
with all defendants, as was done in the second superceding indictment.
Instead, the government charged only two separate conspiracies, one
conspiracy involving Biglow and one involving Black involving both
known and unknown individuals who are not specifically identified.
However, the government does not have to charge a conspiracy with all
defendants     in   order   to   introduce     statements      from    an    alleged
coconspirator. United States v. Alfonso, 738 F.2d 369, 371 (10th Cir.
1984).
        In its response, the government states that the calls establish
defendants’ relationship with Andrews and their “mutual desire to
distribute an illegal commodity for financial gain.” (Doc. 849 at 4).
The government then identifies numerous calls it intends to introduce
during trial, all which include Andrews and one other defendant or
previous co-defendant.       The intercepted calls include the following
prior co-defendants: Cornell Beard, Timothy Collins, Robert Dear,
Ricky Henry, Dornell Johnson, Miguel McPhaul, Jerry Newton, Clifton
Parks, Jose Pizana, and Steven Rich. Therefore, in order to admit the
calls during trial, the government must prove that all individuals
were a part of either or both of the conspiracies separately alleged

                                      -9-
     Case 6:07-cr-10221-JTM        Document 850      Filed 02/22/12     Page 10 of 15




in counts 1 and 2.
        This court’s prior order discussed two types of drug conspiracies
which     involve       more    than    two   individuals,            the    “chain-and-link”
conspiracy and the “hub-and-spoke” conspiracy. In a “chain-and-link”
conspiracy,       or     a    vertical    conspiracy,          there        are    a    series    of
consecutive buyer-seller relationships.                    Caldwell, 589 F.3d at 1329.
“A classic vertical conspiracy involves Supplier A selling contraband
to Supplier B, who then sells the contraband to Supplier C.”                                Id.   In
this case, the alleged organization does not fit into a vertical
conspiracy.       The two individuals at the top of a conspiracy involving
Andrews are Valencia-Abarca and Pizana, who supplied Andrews with
kilos of cocaine.             Andrews, in turn, supplied several individuals,
including defendants, with cocaine to presumably distribute on the
street.      Defendants and their prior co-defendants were not involved
in     vertical   transactions         with    each     other.         Instead,         they   each
independently sold the cocaine to third parties.                                   “Thus, their
relationship      does       not    evince    the    characteristics              of   a   vertical
conspiracy.”      Id. (citing United States v. Kiister, No. 99-3042, 2000
WL 228304, at *7 n. 10 (10th Cir. Feb. 29, 2000) (unpublished)
(indicating that evidence showing a conspiracy among “equal-level
purchasers”       may    be    “less     applicable       in    a     vertical         conspiracy”
context)).
        The facts of this case therefore would fit more neatly into the
category of a “hub-and-spoke” conspiracy, in which several separate
players all interact with a common central actor, here Andrews.                                Id.;
see also Doc. 565.             In Caldwell, a case decided after this court’s
initial decision concerning the statements issued in 2009 (Doc. 565),

                                              -10-
  Case 6:07-cr-10221-JTM   Document 850    Filed 02/22/12   Page 11 of 15




the Tenth Circuit dealt with the admissibility of statements of
alleged coconspirators in a three person conspiracy.                  Two of the
defendants in Caldwell were supplied drugs by one defendant.                 The
Tenth Circuit characterized the conspiracy as a “hub-and-spoke”
conspiracy because two of the defendants were on an equal level and
redistributed the drugs on the street.            Instead of evaluating the
logistics of a “hub-and-spoke” conspiracy, the Circuit turned to
question of interdependence reasoning that “because any conspiracy
requires a showing of interdependence, we prefer to eschew rigid
labels and instead engage in the general, yet fact-specific, inquiry
of whether there is evidence of interdependence among all alleged
coconspirators.”    Id.
     Therefore, the court will turn to the question of interdependence
in this case.   “Interdependence exists where coconspirators intend to
act together for their shared mutual benefit within the scope of the
conspiracy charged.”       Id. (citing United States v. Evans, 970 F.2d
663, 671 (10th Cir. 1992)).      “When multiple individuals are involved
in the sale of illegal drugs, they are engaged in an inherently
illicit enterprise,” but the court must “scrupulously safeguard each
defendant individually, as far as possible, from loss of identity in
the mass.”   Id.
     As this court previously recognized in its 2009 order and the
Tenth Circuit has reaffirmed in Caldwell, the evidence must show a
mutual benefit:
          It is not enough that a group of people separately
     intend to distribute drugs in a single area, nor even that
     their activities occasionally or sporadically place them in
     contact with each other. People in the same industry in the
     same locale (even competitors) can occasionally be expected

                                    -11-
  Case 6:07-cr-10221-JTM    Document 850       Filed 02/22/12   Page 12 of 15




     to interact with each other without thereby becoming
     coconspirators. What is needed is proof that they intended
     to act together for their shared mutual benefit within the
     scope of the conspiracy charged.
Caldwell, 589 F.3d at 1330 (quoting United States v. Evans, 970 F.2d
663, 670-71 (10th Cir. 1992)).
     Based upon the evidence heard at the James hearings, the court
finds   that    interdependence    is    virtually       non-existent      among   all
defendants and alleged coconspirators.                 There is no evidence that
Andrews told defendants or the coconspirators to go to each other when
he was running low or out of cocaine.            Nor is there evidence that the
coconspirators referred their customers to other coconspirators if
they happened to be out of cocaine. In fact, one of the calls support
a finding that Black was upset when Andrews was almost out of cocaine
and did not want Andrews to supply another individual with his
remaining product.        See Call #227 (“don’t leave me out there. . . .
F--k them.”) There is no evidence that the coconspirators talked with
one another about distributing cocaine.
     There is evidence that defendants were aware of the existence and
were dependent on Pizana and Valencia-Abarca; however, there is no
evidence that the coconspirators relied on each other for their
success and mutual benefit in accomplishing the common objective to
distribute cocaine for profit in the Wichita area.                      “[S]haring a
common supplier, without more, does not demonstrate that two drug
dealers   are    acting    together   for      their    shared    mutual    benefit.”
Caldwell, 589 F.3d at 1330 (citing United States v. Edwards, 69 F.3d
419, 431 (10th Cir. 1995)). The government presented no evidence that
Andrews “fronted” cocaine to co-defendants and/or received a cut or


                                        -12-
  Case 6:07-cr-10221-JTM       Document 850        Filed 02/22/12     Page 13 of 15




percentage of any money from any of their sales of cocaine to others.
See, e.g., United States v. Small, 423 F.3d 1164, 1184 (10th Cir.
2005).
       The plea agreement supports a finding that Andrews sold cocaine
to all defendants at various times but it does not support the
conclusion       that     defendants        had     entered         into   a    conspiracy.
Accordingly, the court concludes that the government has failed to
demonstrate by a preponderance of evidence that defendants were
engaged in a conspiracy with the previous co-defendants.                         Therefore,
the    first     requirement         for   admission       of    coconspirator        hearsay
statements has not been met and the conversations which include
Cornell Beard, Timothy Collins, Robert Dear, Ricky Henry, Dornell
Johnson, Miguel McPhaul, Jerry Newton, Clifton Parks, and Steven Rich
cannot be admitted under Rule 801(d)(2)(E).
       Turning     to   the    conversations        with    defendants         and    Andrews,
however, the court finds that the government has established by a
preponderance of the evidence that there were separate conspiracies
between Andrews and each defendant; including Reynolds and Reed, who
are    not   specifically       charged.          The    plea       agreement    and     phone
conversations support a finding that Andrews and each individual
defendant had ongoing illicit relationships. There were several calls
between defendants and Andrews which demonstrated their interactions
and joint purpose of dealing cocaine.                   Therefore, the conversations
with     Andrews    and       each     defendant      are       admissible      under    Rule




                                            -13-
     Case 6:07-cr-10221-JTM    Document 850        Filed 02/22/12    Page 14 of 15




801(d)(2)(E).11
        Moreover,    the      court    also   finds       that      the   government     has
established by a preponderance of the evidence that Pizana was a
member of the conspiracies.             Several calls evidence the knowledge of
defendants that Andrews was receiving the cocaine from either “fat
boy” and/or the “high boy.”            See Calls 100 (Biglow); 121 (Black); 125
(Reed).       The    government       has   established      that     separate       vertical
conspiracies existed between Pizana, Andrews and each defendant.                         The
calls between Pizana and Andrews clearly demonstrate that Pizana was
supplying Andrews with kilos of cocaine.                   See, e.g., calls 35, 118,
170. Andrews was then in turn supplying that cocaine to defendants.
There was interdependence in these separate vertical conspiracies as
each individual relied on the prior individual in the chain to provide
him with the cocaine.
V.      CONCLUSION
          Defendants motions to exclude the statements of the alleged
coconspirators are granted in part and denied in part.                        (Docs. 775,
810, 843, 844, 846).          The government may introduce statements of the
following individuals during trial: James Black, Michael Biglow,
Clerance Reed, Gregory Reynolds, Tyrone Andrews and Jose Pizana.                          It


        11
        Additionally, as an alternative to the hearsay rule, the
government asserts that Andrews’ statements made during the calls with
defendants can be admitted under the adoptive or admission pursuant
to Fed. R. Evid. 801(d)(2)(B). The government asserts that defendants
did not contradict Andrews during the calls and the calls exhibited
agreements and a familiarity with one another. Although the court has
determined that the statements are admissible under the coconspirator
exception, the court agrees that Andrews’ statements would also be
admissible under Rule 801(d)(2)(B). See United States v. Woods, 301
F.3d 556, 561 (7th Cir. 2002); United States v. Miles, 2000 WL 121281
*3 (10th Feb. 1, 2000).

                                            -14-
  Case 6:07-cr-10221-JTM   Document 850    Filed 02/22/12   Page 15 of 15




may   not   introduce   calls   involving    the    other   originally-charged
defendants.
      This legal determination creates a practical problem for which
the government must propose a solution prior to trial, assuming the
case goes forward as charged.       Only Biglow and Black are charged in
separate conspiracy counts.        Under proper instructions, which of
necessity must be given when the calls are admitted in evidence and,
in all probability at the conclusion of the case, the jury must be
told how to consider, or not consider, the calls as to each defendant.
At this time, the court cannot figure out how to do this.
      Therefore, on or before March 2, 2012, the government must
propose a solution in the form of an instruction or instructions which
will ensure that the jurors will properly consider the calls.               In the
alternative, the government may wish to consider severance of Reynolds
and/or Reed.    Defendants may respond on or before March 12, 2012.




      IT IS SO ORDERED.
      Dated this    22nd     day of February 2012, at Wichita, Kansas.
                                          s/ Monti Belot
                                          Monti L. Belot
                                          UNITED STATES DISTRICT JUDGE




                                    -15-
